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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               JONESBORO DIVISION

ANDREA WEST FERGUSON                                                             PLAINTIFF

VS.                                 3:12-CV-00170-BRW

PROASSURANCE INDEMNITY                                                        DEFENDANTS
COMPANY, INC., et al.

                                          ORDER

       Plaintiff’s Motion for Permission to Non-suit Separate Defendant, Jonesboro Surgical

Associates, P.A. (Doc. No. 21) is GRANTED. Accordingly, Jonesboro Surgical Associates, P.A.

is hereby DISMISSED from this action without prejudice.

       IT IS SO ORDERED this 10th day of January, 2013.



                                                /s/Billy Roy Wilson
                                         UNITED STATES DISTRICT JUDGE
